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AO 440 (Rev. 06/12) Summons in a Civil Action



                                UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS

OURA HEALTH OY,
Plaintiff

         V.                                                        Civil Action No. 6:22−CV−00478−ADA

CIRCULAR SAS,
Defendant



                                                SUMMONS IN A CIVIL ACTION

TO: Circular SAS
       34 Avenue des Champs−Elysees
       75008, Paris, France

   A lawsuit has been filed against you.

    Within 21 days after service of this summons on you (not counting the day you received it) −− or 60 days
if you are the United States or a United States Agency, or an office or employee of the United States described
in Fed. R. Civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff`s attorney, whose name and address are:


                                   John Allen Yates
                                   Patterson & Sheridan, LLP
                                   24 Greenway Plaza, Suite 1600
                                   Houston, TX 77046

  If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




   JEANNETTE J. CLACK
  CLERK OF COURT
   s/SUZANNE MILES
  DEPUTY CLERK
                                                                          ISSUED ON 2022−05−19 14:59:47
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